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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

JOHN DOE,                                                       )
                                                                ) CIVIL ACTION
               Plaintiff,                                       )
v.                                                              )
                                                                )
PURDUE UNIVERSITY, PURDUE UNIVERSITY                            )
BOARD OF TRUSTEES, MITCHELL ELIAS                               )
DANIELS, JR., in his official capacity as President of          )
Purdue University, ALYSA CHRISTMAS ROLLOCK,                     ) No. 2:17-cv-33-JPK
in her official capacity at Purdue University,                  )
KATHERINE SERMERSHEIM, in her official capacity                 )
at Purdue University,                                           )
                                                                )
                Defendants.                                     )



                 NOTICE OF PLAINTIFF’S REFUSAL TO SUPPLEMENT

        Defendant, The Trustees of Purdue University (“Purdue”), by counsel, states:

     1. On September 25, 2019, Purdue served its first requests for production and requests for

        interrogatories. Purdue served its second requests for production and requests for

        interrogatories on March 11, 2020, and its third set on August 20, 2020. Plaintiff

        responded to each of these on November 8, 2019, April 10, 2020, and September 10,

        2020, respectively. Plaintiff’s most recent Rule 26(a)(1)(A)(iii) damage disclosure

        supplement was served on August 25, 2022.

     2. On February 9, 2023, considering the fast-approaching trial, Defendant requested that

        Plaintiff supplement his previous discovery responses, particularly those pertaining to his

        alleged damages, such as providing his recent tax returns, employment history, post-

        Purdue educational enrollment. Purdue also requested that Plaintiff supplement his Rule

        26 damage computation by providing the documents and other evidentiary material on

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     which the computation is based. Defendant requested a response by February 24, 2023. A

     copy of the letter sent to Plaintiff’s counsel is attached as Exhibit A.

  3. After not receiving any response, the undersigned counsel followed up with Plaintiff’s

     counsel on February 27, 2023. The email and response is attached as Exhibit B. Couched

     in disparaging terms, John’s counsel refused to make any supplement: “Plaintiff John

     Doe . . . does not have a current obligation to comply with your unreasonable and

     irrelevant demands. . . .” The email did not cite any authority for the contention that John

     does not have a duty to supplement his disclosures.

  4. The duty to supplement Rule 26(a) disclosures and previous discovery responses that are

     presently incomplete or incorrect is “mandatory.” Fed. R. Civ. P. 26(e); Lujano v. Town

     of Cicero, No. 07 C 4822, 2011 U.S. Dist. LEXIS 148913, at *12 (N.D. Ill. Dec. 23,

     2011). The duty “lingers on without subsequent solicitation,” Francis v. AIT Labs., No.

     1:07-cv-0626-RLY-JMS, 2008 U.S. Dist. LEXIS 49015, at *3 (S.D. Ind. June 26, 2008)

     (quoting Scranton Gillette Communications, Inc. v. Dannhausen, 1998 U.S. Dist. LEXIS

     23261, 1998 WL 566668 at *1 (N.D. Ill. 1998)), and the duty extends past any discovery

     deadline and into trial. Marianjoy Rehabilitation Hospital v. Williams Electronic Games,

     Inc., 1996 WL 411395 at *3 (N.D. Ill. 1996); see also Outback Steakhouse of Fla., Inc. v.

     Markley, 856 N.E.2d 65, 77-78 (Ind. 2006) (holding, while interpreting Indiana’s parallel

     Rule 26(e), that the rule does not provide that the duty to supplement ceases at the onset

     of trial).

  5. Rule 37(c)(1) outlines the consequences for a party’s failure to supplement. Specifically,

     the sanction of exclusion is “automatic and mandatory” absent legal justification or

     harmlessness. Tribble v. Evangelides, 670 F.3d 753, 760 (7th Cir. 2012). Nevertheless,



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     the Court is vested with considerable discretion in crafting additional sanctions and may

     even dismiss a case if the Court finds that misconduct in discovery is due to “willfulness,

     bad faith, or fault of a party or attorney.” See Maynard v. Nygren, 332 F.3d 462, 467-68

     (7th Cir. 2003), overruled on other grounds, see Ramirez v. T&H Lemont, Inc., 845 F.3d

     772, 776-77 (7th Cir. 2016).

  6. John cannot defy the requirement to supplement discovery and disclosures. Parties in

     other matters who have failed to properly supplement their disclosures and discovery—

     not to mention counsel who intentionally refuse to do so—have been barred from

     introducing any evidence of damages, among other sanctions. See, e.g., Pittsfield Dev.,

     LLC v. City of Chi., No. 17 CV 1951, 2021 U.S. Dist. LEXIS 258261, at *37 (N.D. Ill.

     Nov. 15, 2021) (recommending a sanction barring Plaintiff from submitting certain

     evidence in support of his damages for failing to properly disclose damages and

     supplement discovery responses and disclosures); Nunez v. City of Pompano Beach, No.

     20-62626-CIV-DIMITROULEAS/S, 2022 U.S. Dist. LEXIS 237187, at *10-11 (S.D.

     Fla. Apr. 26, 2022) (barring Plaintiff from introducing evidence of damages at trial as a

     sanction for failing to supplement his Rule 26(a)(1)(A)(iii) disclosures).

  7. Purdue intends to address remedies and sanctions at the March 14, 2023, Final Pretrial

     Conference. Further, this is not the first sanctionable discovery dereliction by Plaintiff in

     this case. See e360 Insight, Inc. v. Spamhaus Project, 658 F.3d 637, 643 (7th Cir. 2011)

     (“[W]e review a sanction not in isolation but in light of the entire procedural history of

     the case. In other words, we weigh not only the straw that finally broke the camel’s back,

     but all the straws that the recalcitrant party piled on over the course of the lawsuit.”

     (internal citations and quotation marks omitted)); see, e.g., Doe v. Purdue Univ., No.



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        2:17-CV-33-JPK, 2021 U.S. Dist. LEXIS 124257 (N.D. Ind. July 2, 2021) (Snapchat

        data).

Dated March 7, 2023                       Respectfully submitted,

                                          /s/ Tyler L. Jones
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                                          Tyler L. Jones (No. 34656-29)
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